











TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN




NO. 03-10-00088-CV




David P. Griffin, Appellant

v.

City of Austin; Rondella Hawkins, Individually and as Employee of the City of Austin;
Public Access Community Television a/k/a Channel Austin; Garry Wilkison and
Linda Litowsky, Individually and as Executives of Public Access Community Television;
and Cathy Beaudoin, Jackie Goodman, Celia Hughes, Emanuel Limuel, Oscar Palomo,
Daniel Scardino, Deborah L. Hill, Trena Denley, and Helen Caudill,
Individually and as Board Members of Public Access Community Television, Appellees




FROM THE DISTRICT COURT OF TRAVIS COUNTY, 126TH JUDICIAL DISTRICT
NO. D-1-GN-09-002028, HONORABLE JEFF L. ROSE, JUDGE PRESIDING


&nbsp;
M E M O R A N D U M   O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant David P. Griffin was employed by Public Access Community Television
(now known as channelAustin) (“PACT”), which provides services under contract with the City of
Austin.  After his employment was terminated, Griffin filed suit in district court, alleging that
PACT&nbsp;had terminated him due to his allegations of PACT executives’ criminal activities
and&nbsp;mismanagement and that the City was negligent in failing to investigate his allegations.  The
district court granted PACT’s motion for summary judgment and the City’s plea to the jurisdiction
and entered judgment in favor of the defendants.  We affirm.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Griffin was employed as equipment director of PACT, beginning in January&nbsp;2006.
PACT is a non-profit corporation that contracts with the City of Austin to manage the City’s
three&nbsp;public access television channels.  In June&nbsp;2008, Griffin’s employment with PACT
was&nbsp;terminated.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Griffin filed suit in district court against the appellees, who consist of the following
two groups:  (1)&nbsp;the City and Rondella Hawkins, the City employee who administers the City’s
contract with PACT (collectively, the “City Appellees”); and (2)&nbsp;PACT; Garry Wilkison and
Linda&nbsp;Litowsky, identified by Griffin as executives of PACT; and Cathy Beaudoin, Jackie Goodman,
Celia Hughes, Emanuel Limuel, Oscar Palomo, Daniel Scardino, Deborah L. Hill, Trena Denley,
and&nbsp;Helen Caudill, identified by Griffin as board members of PACT (collectively, the “PACT
Appellees”).  Griffin alleges that he suffered abusive treatment at his job and was terminated
primarily due to his complaints regarding certain activities by management or co-workers that he
considered illegal or improper.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The City Appellees filed a plea to the jurisdiction and a motion to dismiss Hawkins
from the lawsuit, and the PACT Appellees filed a motion for summary judgment.  The district court
granted all three motions and entered judgment in favor of the appellees.  Griffin appeals.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Griffin, appearing pro se,


 asserts the following as his first point of error:
Did the [S]tate of Texas violate my constitutional right, granted to me under the
US&nbsp;Constitution that says I have a right of trial by a jury of my peers?  All the
information given to the trial judge was false and misleading.  I never had a chance
to cross-examine or to have discovery to prove my case.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This point of error appears to be an allegation that it is error for a trial court to
enter&nbsp;judgment based on a pretrial motion.  However, the three dispositive motions filed in the
district court were pretrial motions acceptable under applicable law.  See Tex. Civ. Prac. &amp; Rem.
Code Ann. §&nbsp;101.106(e) (West 2005) (motion to dismiss governmental employee); Tex. R. Civ.
P.&nbsp;85 (plea to the jurisdiction); Tex. R. Civ. P.&nbsp;166a (motion for summary judgment).  In addition,
Griffin neither identifies any information provided by the appellees that was “false and misleading”
nor explains how cross-examination or discovery would have altered the district court’s rulings.  See
Tex. R. App. P.&nbsp;38.1(i) (“The [appellant’s] brief must contain a clear and concise argument for
the&nbsp;contentions made, with appropriate citations to authorities and to the record.”).  We overrule
Griffin’s first point of error.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Griffin asserts the following as his second point of error:
Did the City of Austin and its employee Rondella Hawkins cover up [and hide] facts
and destroy evidence that would have embarrassed her and her city department once
again?  Did this city officer after discovering the facts [stand] by and [do] nothing?
Did [she] have a fiduciary duty to the law-abiding citizens of the City of Austin?

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This point of error appears to relate to Griffin’s allegations that after he complained
about certain activities by PACT management or co-workers which he considered to be illegal
or&nbsp;improper, the PACT Appellees terminated his employment and the City Appellees took
no&nbsp;responsive action.  Based on these allegations, Griffin asserted causes of action against the
City&nbsp;Appellees (1)&nbsp;under the Texas Whistleblower Act, see Tex. Gov’t Code Ann. §§&nbsp;554.001-.010
(West&nbsp;2004), and (2)&nbsp;for negligence.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Even if we were to broadly construe Griffin’s second point of error as a challenge
to&nbsp;the order of the district court granting the City Appellees’ plea to the jurisdiction, we would find
no error.  Whether a court has subject-matter jurisdiction and whether a plaintiff has affirmatively
demonstrated subject-matter jurisdiction are questions of law that we review de novo.  Texas Dep’t
of Parks &amp; Wildlife v. Miranda, 133 S.W.3d 217, 226 (Tex. 2004).  In deciding a plea to the
jurisdiction that challenges the pleadings, we determine if the pleader has alleged facts that
affirmatively demonstrate the court’s jurisdiction to hear the cause.  Id.  We construe the pleadings
liberally in favor of the plaintiffs and look to the pleader’s intent.  Id.  If the pleadings affirmatively
negate the existence of jurisdiction, the plea to the jurisdiction may be granted without allowing the
plaintiff the opportunity to amend.  Id. at 227.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Whistleblower Act’s protection against adverse employment actions applies
only&nbsp;to an employee of a state or local governmental entity.  See Tex. Gov’t Code Ann. §&nbsp;554.002(a).
The City Appellees assert in their plea to the jurisdiction—and Griffin concedes—that Griffin was
an employee of PACT, not the City, and that PACT is not a state or local governmental entity.
Therefore, the district court did not err in granting the City Appellees’ plea to the jurisdiction with
respect to Griffin’s whistleblower claim.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Griffin requests that his whistleblower claim be construed to allege a breach of
fiduciary duty claim.  According to Griffin, the City Appellees breached a fiduciary duty to the
public to investigate and prosecute the criminal acts allegedly committed by the PACT Appellees.
However, even under a liberal reading, Griffin’s pleadings do not allege a cause of action for breach
of fiduciary duty.  Therefore, whether the City Appellees had a fiduciary duty has no effect on our
review of the district court’s granting of the City Appellees’ plea to the jurisdiction.  See Erisman
v. Thompson, 167 S.W.2d 731, 733 (Tex. 1943) (“[P]leadings determine the issues upon which
parties go to trial .&nbsp;.&nbsp;.&nbsp;.”).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Griffin also asserts that the City Appellees were negligent due to their inaction
in&nbsp;response to Griffin’s alerting them to the PACT Appellees’ “unprofessional behavior” and
“criminal activity.”  However, under the Texas Tort Claims Act, the tort liability of a municipality
performing its governmental functions is limited to certain statutorily specified circumstances
and&nbsp;causes of action.  See Tex. Civ. Prac. &amp; Rem. Code Ann. §§ 101.021, .0215(a) (West 2005).
Construing the pleadings in favor of the plaintiff and assuming the allegations are true, Griffin’s
factual allegations do not state a cause of action for negligence for which the Tort Claims Act
waives&nbsp;immunity.  Therefore, the district court did not err in granting the City Appellees’ plea to the
jurisdiction with respect to Griffin’s negligence claim.  See Miranda, 133 S.W.3d at 226-27.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In addition, with respect to Griffin’s negligence claim, the City Appellees filed a
motion to dismiss Hawkins under Texas Civil Practice and Remedies Code section&nbsp;101.106(e),
which provides that if a claim is filed under the Tort Claims Act against both a governmental unit
and any of its employees, “the employees shall immediately be dismissed on the filing of a motion
by the governmental unit.”  Tex. Civ. Prac. &amp; Rem. Code Ann. §&nbsp;101.106(e) (West 2005).  Based
on section&nbsp;101.106(e), the district court did not err in granting the City Appellees’ motion to dismiss
Hawkins from the lawsuit.  We overrule Griffin’s second point of error.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Griffin asserts the following as his third point of error:
Are attorneys licensed in the State of Texas above the laws of the State?  When an
attorney goes into a courtroom in Texas, knowingly and willingly files false and
misleading documents with no hesitation because he knows there will be absolutely
no ramifications, no one will ever question him or her, there will be no prosecution
of any kind, he has no natural predator to be concerned with, not even the US or
Texas courts?  With full consent of the Texas Bar Association, they are not the least
bit concerned with the attorneys lying.  Judges only verbally admonish basically
meaning they do nothing.

This point of error presents nothing for our review.  See Tex. R. App. P.&nbsp;38.1(i).  Griffin does not
identify any “false and misleading” information contained in the documents filed by the appellees
in the district court.  We overrule Griffin’s third point of error.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Griffin asserts the following as his fourth and final point of error:
How does a law-abiding citizen react when city property is being stolen, management
is wasting thousands of dollars and donations are being stolen?  What does the
common man do in this situation?

This point of error also presents nothing for our review.  See id.  Griffin does not connect the point
of error to any of his causes of action, the legal arguments in appellees’ motions, or the rulings of
the district court.  We overrule Griffin’s fourth point of error.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having overruled each of Griffin’s points of error, we affirm the judgment of the
district court.



&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Bob Pemberton, Justice
Before Chief Justice Jones, Justices Puryear and Pemberton
Affirmed
Filed:   November 17, 2010


